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F!I`.f..
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TEN'NESSEE 05}.;_;;3;? 25

 

 

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UNITED S'I`A'I`ES OF AMERICA

(o¢/ »;zoa BL/>
criminal NO. ¢YEZW %w{£/

(30-Day Continuance)

Plaintiff,

C%W@
A"%//f§

 

 

 

 

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Defendant(s}.

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav; May 27, 2005, With trial to take place on the June,
2005 rotation calendar With the time excluded under the Speedy
Trial Act through June 17, 2005. Agreed in open court at report

date this 22nd day of April, 2005.

`Vi\i.s cincinnath entered on fhc-3 docket aheet in cu::,pilance

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Case 2:04-cr-20234-.]PI\/| Document 146 Filed 04/25/05 Page 2 of 3 Page|D 199

so 0RDBRED this 22nd day of April, 2005.

Q,~@ NTQ,Q,O»

ON HIPPS MCCALLA
UNI D STATES DISTRICT JUDGE

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M %{/€

A§sistant United States Attorney

 

 

 

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 146 in
case 2:04-CR-20234 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

